Govt. Ex. 3A-001
Govt. Ex. 3A-002
Govt. Ex. 3A-003
                               Govt. Ex. 3A-004




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Product number: QBA6 1401
Govt. Ex. 3A-005
                       Govt. Ex. 3A-006




Product number: QBA10 4297
                       Govt. Ex. 3A-007




Product number: QBA10 7720
Govt. Ex. 3A-008
                            Govt. Ex. 3A-009




Product number: QBA6 3219
                           Govt. Ex. 3A-010
Product number: 1B6 3462
Govt. Ex. 3A-011
                   Product number: 1B6 3632
      Govt. Ex. 3A-012




1B6
                           Govt. Ex. 3A-013




Product number: 1B6 1405
      Govt. Ex. 3A-014




1B6
                          Govt. Ex. 3A-015




Product number 1B6 1412
Govt. Ex. 3A-016
